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PARKER, J., reads for reversal.
All concur, except BRADLEY and HAIGHT, JJ., not voting.
Judgment reversed.